Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                         Main Document    Page 1 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                         Main Document    Page 2 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                         Main Document    Page 3 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                         Main Document    Page 4 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                         Main Document    Page 5 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                         Main Document    Page 6 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                         Main Document    Page 7 of 30
     Case 8:23-bk-10898-TA     Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                                Main Document    Page 8 of 30



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 3   avaesq@lakeforestbkoffice.com
     PROPOSED ATTORNEY FOR
 4   DEBTOR-IN-POSSESSION
     JEFFREY SCOTT BEIER
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 8
                      UNITED STATES BANKRUPTCY COURTS
 9             CENTRAL DISTRICT OF CALIFORNIA-SANTA ANA DIVISION

10
     In Re: JEFFREY SCOTT BEIER              )   BK. No. 8:23-bk-10898-TA
11                                           )
                                             )   Chapter 11
                                             )
12                                           )   DECLARATION OF VALENTINA BEIER
                                             )
13                                           )   JUDGE
                                             )   Hon. Theodor Albert
                                             )
14                                           )
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     Case 8:23-bk-10898-TA        Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11               Desc
                                   Main Document    Page 9 of 30



 1         I, VALENTINA BEIER, declare as follows:

 2         1. I am over the age of 18 and I am legally able and competent to testify to the following

 3            in a court of law if required to do so.

 4         2. I am married to Debtor-In-Possession Jeffrey Scott Beier. We have been married since

 5            February 2nd , 2021 under Russian Law.

 6         3. I lived in the United States for several years and read and speak English fluently.

 7         4. I am a Russian citizen.

 8         5. As a Russian citizen I am required by law to maintain a bank account at a Russian

 9            financial institution.

10         6. The purpose of this account is to allow the government to deduct fines and penalties it

11            assesses as against my funds in that account.

12         7. I have an account at the SBER (pronounced “SPARE”) bank, which is a Russian

13            financial institution.

14         8. I cannot close this bank account without opening another bank account at another

15            Russian financial institution.

16         9. My husband’s name is not on this bank account.

17         10. He does not have access to the account.

18         11. I will not allow him to deposit any funds he earns into this account during the Chapter

19            11 proceeding.

20         12. I make these declarations under penalty of perjury of the laws of the United States and

21            know that they are true.

22   Dated:___May 24, 2023________                              Signed:_______________________
     _____
23                                                       VALENTINA BEIER

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                                    DECLARATION
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     Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                             Main Document    Page 10 of 30



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Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 11 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 12 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 13 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 14 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 15 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 16 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 17 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 18 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 19 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 20 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 21 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 22 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 23 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 24 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 25 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 26 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 27 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 28 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 29 of 30
Case 8:23-bk-10898-TA   Doc 34 Filed 05/24/23 Entered 05/24/23 22:08:11   Desc
                        Main Document    Page 30 of 30
